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                                     UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  August 21, 2007



              Peter Dennis Ward, Esq.
              LAW OFFICE OF PETER D. WARD
              Suite 105
              300 Allegheny Avenue
              Baltimore, MD 21204




                         Re: 07-4059 US v. Learley R. Goodwin
                                    8:04-cr-00235-RWT

                             07-4115 US v. Dobie
                                    8:04-cr-00235-RWT



              Dear Counsel:

                   The appellant's request to relieve counsel was filed in this
              office on 8/20/07. You must file four copies of a response to the
              motion in the clerk's office on or before 8/31/07, even if there is
              no objection.




                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                  /s/ Sharon A. Wiley
                                                                By: ________________________
                                                                     Deputy Clerk
